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                     LETTER-MOTION REQUESTING EXTENSION OF
                            DATE FOR SELF-SURRENDER

                                         November 14, 2021
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    Hon. Richard J. Sullivan, United States Circuit Judge                     '(1,('
    Thurgood Marshall United States Courthouse
    40 Foley Square
    New York, N.Y. 10007                                                         


                   Re:    United States v. Edwin Ruiz, 11-cr-676(RJS)

    Dear Judge Sullivan:

          At the conclusion of the November 12 sentencing hearing in this matter,
    Your Honor, as reflected in the judgment entered on November 15. (ECF-317),
    permitted Mr. Ruiz to self-surrender to the institution designated by the Federal
    Bureau of Prisons (“BOP”) for service of his 20-months sentence. A reporting
    date of November 29, 2021 was established.

          Mr. Ruiz very much appreciated that courtesy and now respectfully
    requests that the surrender date be extended to and including January 3, 2022.
    This would accomplish two things: (1) his presence with his family through the
    year-end holidays; and (2), the later date would increase the chances of BOP
    having made a designation determination in advance of the surrender date. This
    would obviate the necessity of, for example, Mr. Ruiz surrendering himself to the
    U.S. Marshal on November 29 and remaining housed at MCC/NY while the
    designation process is completed, at which time he would then be transferred to
    another BOP institution.

           Your Honor’s attention to this request is appreciated.

                                                 Respectfully yours,
                                                 David A. Ruhnke
                                                 David A. Ruhnke
                                                 Counsel to Edwin Ruiz
    cc:    Via ECF to all parties
           Hillel Greene, USPO via email
